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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         ORLANDO GARCIA,
                                   7                                                           Case No. 21-cv-07286-WHO
                                                         Plaintiff,
                                   8
                                                  v.                                           ORDER OF DISMISSAL UPON
                                   9                                                           SETTLEMENT
                                         TAQUERIAS LIMON, LLC,
                                  10
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The parties to the action, by and through their counsel, have advised the Court that they have
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                                       agreed to a settlement.
                                  15
                                               IT IS ORDERED that this matter is DISMISSED WITH PREJUDICE and any hearings
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                                       scheduled in this matter are VACATED. It is further ordered that if any party certifies to this Court,
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                                       with proper notice to opposing counsel within ninety (90) days from the date below, that settlement
                                  18
                                       has not in fact occurred, this order shall be vacated and this cause shall be restored to the calendar for
                                  19

                                  20   further proceedings. IT IS SO ORDERED.

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                                       Dated: November 10, 2021
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                                  23                                                       WILLIAM H. ORRICK
                                                                                           United States District Judge
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